Case 2:17-cv-00152-MTP Document 45 Filed 06/25/18 Page 1 of 1
SOUTHERN DISTRIGT OF MISSISSIEPT

PILED
JUN 25 ant,
ARTHUR JOHNSTON
————_

OEPUTY

(Age tt 2! 17> «vy ~ 0273 ~hcS- PITH MMe Aeas Y.

BY.

NS etal

L Valu Ike to 3.4% the Lowy pol! ee

Of Chbwv45e of obese. Ov f-20-/% Z£

IGS moved! Hom Cental IN, SE E39 h° Col rot ove]
fat: Po East m258:59: 98! Corr, chcova) Fac:lt) Come)
a WY) Nighvay % Lest Medan MSESILIK 3GO7

LZ have. A On ibes Aeprng set for 7-2-~/Y
Lefore Mas, shake Jetd ae Inch acl 7 Facker

Cav the Cours Plane rly the Yaser et
Enst MLSS SL PYF: Correck: oval Fac.ly of Has matter ,

Norte Chae of Robfpuss
Qed UWlnns t 8323Y

East VSS: 5.97? (oslect: ona/ Fredy
lo64) NN fo vest
Mer fan Ise 3939/7
